Case No. 1:21-cv-01394-LTB-GPG Document 41 filed 09/16/22 USDC Colorado pg1lof3

FILED
IN THE UNITED STATES DISTRICT COURT UNE D STES DISTRICT COURT

FOR THE DISTRICT OF COLORADO R, COLORADO

SEP 16 2022
Civil Action No. 1:21-cv-01394-LTB JEFFREY P. COLWELL
CLERK

Darwynn Barwick ,
Plaintiff,
V.

Broadway Lofts, LLC et al,

Defendants.

NOTICE OF APPEAL FROM FINAL JUDGMENT

Darwynn Barwick appeals to the United States Court of Appeals for the Tenth Circuit from

the final judgment entered on July 15,2022.

Dated September 14, 2022 .

Lbutpeh Yopr»wtah, ,

jnature

Darwynn L. on

Printed Name

3773 Walnut St. Apt.#403

Denver CO 80205

City State Zip

(303) 419-8950

Telephone Number

Rey. 12/2021
DIANIS TVLSOd Pg |
SHLVIS G3.LINN bs

wy
wal
i

ys

Dngoud:

JasNaon
O vows

JO Gane

Ox
©
_

2
O

O

O

QO

VY)

>

nN

NI

on,

S

a

x

D

Oo

5

0

=

4

+

€
©
E
5
5
}

a

O

oO

Q

a

ke

=
+t

Oo

©

ca -

°°
>
5

4

N

oi
o

Zz
w
©

O

vw

fe
ss
+

LESE TGS TY FAV Sel wera
Eg bb Opn) SY
TPP POR PPR PAs
Pa an ML HO

SITES Ty AL
Cap FAT AS PMI Gee
Worreg_7T Uv APOC

he2T Thee DOOD O¢b2 bo

ee” 5S i nil

|

xg 0] CH dive bv
el

Case No. 1:21-cv-01394-LTB-GPG Document 41 filed 09/16/22 USDC Colorado pg 3of3

8

2 wa ZGOLL  GLOOL
aoe mete , Ta PET
alte . * ;
